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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

 In re:
                                                 Case No. 15-13369-JNF
                 Andre Bisasor,                  Chapter 13

                                       Debtor

                          MOTION TO AMEND FEE APPLICATION

          NOW COMES David G. Baker, formerly counsel of record to Andre Bisasor, debtor, and
respectfully moves the court for leave to amend his fee application in accordance with the
settlement with the debtor, approved by the court (see docket entry 251), to reflect that the total
agreed upon fee is $2,800, of which the debtor has paid $1,400 in accordance with the
settlement, leaving an administrative claim of $1,400, which I request be allowed and paid by the
trustee to the extent that he has sufficient funds on hand to pay.

December 28, 2018
                                           Respectfully Submitted,

                                           /s/ David G. Baker
                                           David G. Baker, Esq. (BBO# 634889)
                                           236 Huntington Avenue, Ste. 306
                                           Boston, MA 02115
                                           617-367-4260

                                      Certificate of Service

The undersigned states upon information and belief that the within Motion was
served upon the parties in interest named below on the date set forth above.

                                           /s/ David G. Baker
                                           David G. Baker, Esq.

John Aquino
jja@andersonaquino.com, jaquino@ecf.epiqsystems.com

Donna Ashton on behalf of Creditor Greystar Management Services LP as agent for
owner RAR2-Jefferson at Dedham Station MA Inc.
dma@ashton-law.com
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